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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

In re:                                                           CaseNo. l8-68507-LRC
         DONALD RENALDO WHITING, III

                          Debtor(s)



         CHAPTER 13 STANDING TRUSTEE                      S   F'INAL REPORT AND ACCOUNT

       Melissa J. Davey, chapter 13 trustee, submits the following Final Report and Account             of
the administration of the estate pursuart to 11 U.S.C. $ 1302(bXl)' The trustee declares as
follows:

         1)      The case was filed on l1103/2018.

         2)      The plan was confirmed on 0312012019.

         3)      The plan was modified by order after confirmation pursuant to 11 U.S'C. $ 1329 on
 NA.

         4)      The trustee filed action to remedy default by the debtor in performance under the plan
on NA.

         5   ) The case was converled on 9l!-J4/2021.
         6)      Number of months from filing to last payment: 25.

         7)      Number of months case was pending: 27.

         8)      Total value ofassets abandoned by court order:      NA.

         9)      Total value of assets exempted: $23.100.00'

           10) Amount ofunsecured claims discharged without payment: $0.00.

           11)   All   checks distributed by the trustee relating to this case have not cleared the bank.




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Receiots:

           Total paid by or on behalfofthe debtor                       $9,13s.00
           Less amount refunded to debtor                                   $0.00

NET RECEIPTS:                                                                                                  $9,135.00




           Attomey's Fees Paid Though the Plan                                     $3,33s.02
    Court Costs                                                                        $0.00
    Trustee Expenses & Compensation                                                  $610.84
    Other                                                                              $o.oo
TOTAL EXPENSES OF ADMINISTRATION                                                                               s3,945.86

  ttorney fees paid and disclosed by debtor:                             $0.00



Scheduled Creditors:
Creditor                                              Claim           Claim            Ciaim          Principal         Int.
Name                                     Class       Scheduled       Asserted                           Paid            Paid
AI,I,Y FINA    AL                    Secuaed           24,297.00       25,162.87       25,t62.87               0.00            0.00

AT&T CORP                            Unsecured           t,366.00       1,365.90         I,365.90              0.00            0.00

AT&T MOBILITY II LLC                 Unsecured            507.00          507.28          501.28               0.00            0.00
BYL COLLECTIONS                      Unsecured            191.00                NA             NA              0.00            0.00

ERC/ENHANCED RECOVERY CORI           Unsccured            507.00                NA             NA              0.00            0.00

Ceolgia Department of Revenue        Unsecured                0.00        t71.17          177,11               0.00            0.00

Georgia Department of R€venue        Priority             519.00          518,49          518.49               0.00            0.00
Ceorgia Department of Revenue        secured            4,063,00        4.062.78        4,062.78          I,660.72       442.31

IN'TERNAL REVENUE SERVICE            Priority           2,515.00        2,514.46        2,514.46               0.00            0.00
INTERNAL REVENUE SERVICE             Uosecured                0.00      4,611.61        4,6t'7.6',7            0.00            0.00

L\TNV FUNDING LLC                    Unsecured            692.00          657.58          657.58               0.00            0.00
MIDLAND FLII']DlNC, LLC              Unsecured            979.00          918.75          918.75               0.00            0.00

MIDLAND FUNDINC, LLC                 Unsecured                NA          746.31          146.37               0.00            0.00

PENNYMAC LOAN SERVICES, LLC          SDcured             5,790.00       5,789.54         5,789.54        2,468.89              0.00

Portfolio Recovery Associatgs, LLC   Unsecured            584.00          583.97          583.97               0.00            0.00
Porlfolio Recovery Associates, LLC   Unsecured            391.00          356.32          356.32               0.00            0.00

PRTMlER BANKCARD, LLC                Unsecured            606.00          606.62          606.62               0.00            0.00
SANTANDER CONSUMER USA INC           Unsecured         24,782.00       24,782.00        24,782.00              0.00            0.00

STONEY CREEK ESTATES       IIOA      Securcd             1,329.00       t,3?8.23         t 328.23           611.22             0.00
TIERRAMITCHELL                       Priority                 0.00              NA             NA              0.00            0.00

I.]S DEPT OF EDUCAIION / MOHEL       Unseoured           9,456.00       9,4t2.13         9,472.13              0.00            0.00




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Summary of Disbursements to Creditors:
                                                                 Claim           Principal             Interest
                                                              Allowed                Paid                  Pai
Secured Payments:
      Mortgage Ongoing                                          $0.00               $0.00               $0.00
      Mortgage Anearage                                     ss,789,54           $2,468.89               $0.00
       Debt Secured by Vehicle                             $2s,r62.87               $0.00               $0.00
      AII Other Secured                                     $5,391.0i           $2,277.94             9442.31
TOTAL SECURED                                              $36,343.42           $4,746.83             $442.31

Priority Unsecured Payments:
         Domestic Support Arrearage                              $0.00                 $0.00             $0.00
         Domestic Support Ongoing                                $0.00                 $0.00             $0.00
         All Other Priority                                  $3,032.95                 $0.00             $0.00
TOTAL PRIORITY                                               $3,032.95                 $0.00             $0.00

GENERALUNSECUREDPAYMENTS                                   $44,851.76                  $0.00             $0.00



    bursementsl

         Expenses of Administration                                $3.94s.86
         Disbursements to Creditors                                $5.189.14

TOTAL DISBURSEMENTS:                                                                              $9.135.00



        12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated,: 01/1912021                              By:/s/ Melissa J. Davey
                                                                             Trustee


STATEMENT This Unified Form        is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R, $ 1320.4(aX2) applies.




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                          I]NIITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE:                                         )      CHAPTER     13
DONALD RENALDO WHITING, III                    )
                                               )      CASENO, I8.68507-LRC
                                               )
DEBTOR                                         )

                                CERTIFICATE OF SERVICE

This is to certiff that I have on this day electronically filed the foregoing Amended Chapter 13
Trustee's Final Report and Account using the Bankruptcy Court' s Electronic Case Filing
program, which sends a notice ofthis document and an accompanying link to this document to
the following parlies who have appeared in this case under the Bankruptcy Court's Electronic
Case Filing program:

 E. L.   Clark ecfnotices@cw13.com, cwatlantabk@gmail.com
 DanaM. TuckerDavis ddavis@tuckerdavislaw.com
 S. GregoryHays ghays@haysconsulting.net,
 saskue@haysconsulting.net;GA3 2@ecfcbis.com
 Brian K. Jordan ecfganb@aldridgepite.com, bjordan@ecf.inforuptcy'com
 Wanda D. Murray wmunay@aldridgepite.com, ecfganb@aldridgepite.com
 Bryce R. Noe[ ecfganb@aldridgepite.com, bnoel@ecf.inforuptcy.com
 Office of the United States Trustee ustpregion2l .at.ecf@usdoj.gov

I further certify that on this day I caused a copy of this document to be served via United States
First Class Mail with adequate postage prepaid on the following parties set forth below at the
address shown for each.



   DEBTOR(S):
   DONALD RENALDO WHITING, III
   I 162 LEHAVRE COURT
   HAMPTON, GA 30228




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Dated,: 0111912021                         /s/ Melissa J. Davey
                                           Melissa J. Davey, Chapter 13 Trustee
                                           State Bar No. 2063 10
                                           Standing Chapter 13 Trustee
                                           260 PEACHTREE STREET N.W.
                                           SUITE 2OO
                                           Atlanta, GA 30303
                                           (678)s 10-1444




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